Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 1
                                    of 34




                                EXHIBIT 4
   {exhibits nos;1 }
          Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 2
                                              of 34




                        r'
                                                                                                                                                  CR€DIT
                                                                                    .\ r   r \ l/oRM ATloN l(El n rN shtl<. r (.o\iF iDF r,l(.F
                                                                                               i

                                                                       t.

                                                                                    -.-//
                                                                                    Yzlact-t
                                     iii         r r. ,1r. ..r,c:oN4I..\,\-,.                      ir*,A100
                                                                                -K**o
                                     .{,1_r I        :\     (,J-.t' e U,*.. lt-
                                                      -.'f z*,. l(*11_r"nL!s,. ,.hat                                                     tjo I
                                     PtiO\[. Liu                 J"J'           18.qt-_. -.FAx_^ h!e+_, 7vs .. 11wf

                                                                                                                                                       -
                                                                                                                                                           t;,: L !'

                                    !\,tl'q \']ilCl.{ \',:,,,. 1-lAVi', A
         PLEAStl t,.jS'l W_N{Xjli:'{EFERENC,Es
                                                                                                                 hnIMEgR,                 YT,
         CITRR,EN]' (JPE,N A(. C()UIil'

         coHtANv !^Mt                       r.r.j GrR,                                                          .(lf morr

         r-ooRIitt                                   ?**-Q.s-                       gt: I
                                                                                                                    t'o.nnrl u*oER Rtrjr
        Ln-'Y. JTAI6,,f.l'                           A-2.4\:, 14\i          - Scl                                                      ft CI.}S'I {\-:
        PhovP                  krL*.:                - 4!iio                                                        PLI{sON                                 fr


        PAX                                                    --
        *"1" ^      ;;lqqlrgra'. I -? _tu* J "Z-l=_
                                            ;




       c:Dt(t1l.Y NAtjq
                                                                                         c)a                    trttil                      rl
                                _

                                                                                                                a
       .f1l'lRt'3                                                                                               i           IT IS          T
                                                                                    ,,
       ':ii'f. vrA'm,iJP               J                                                                        I           S
                                                                                                                a.
       PX('.x'l
                                                                                                                ) IT
       FAX                                                                                                      f
      A( i rli|tl   /                                                -JlL/-                                     I A
                                                                                                                t w]LL                     VE CREDIT INFORMATION                        I
                                                                                                                I
                                                                                                                i           F                 CORPORATE HEADQUAR-                       I
                                                                                                                                                                                        a
      --o$FAil l, lrar.{.;           _{_L;t_                                                                    I           TERS                     WHEN LISTINGALARGE I
                                                o r5_l*_*.
                                                                                                                I
                                                                                                                                          BE SURETO INCLUDETHE                              I
      €DESFE
  a!?t tTAi[ :rf                                 .r\ --   _tL-- bg.!jl                                           t
                                                                                                                 I                                OFTHE MAIN OFFICEAND
                                                                                                                                                                                            t
                                                                                                                                                                                                I
  pilo|,ri
             **.             {rt I                    .f-e--9--p--                                               I
                                                                                                                 I
                                                                                                                                                       NUMBER.                                  t
                                                                                                                                                                                                  I
  FA,x_**,__ _                                                                                                      t                                                  N PROV1DES US              t
 .r   rc'rI tra I
                                                                                                                    t TH IS                                                                        ll
                                                                                                                    I                              BESTWAY OF CONTACT-                              t
                                                                                                                    I                                                                                I
                                                 F                                                                              IN G              FOR ALL NORMAL BUSI-                                I
g,7i{pAr y i\A,rtr1                                                                                                 I
                                                                                                                     a          NESS                                         ,INCLUD.                 t
n:1nB F55
                                                                                                                                                                       CAT. I
                                                                  9tlr t                                                                         VOICES, SALES ORDERS'
                                                                                                                     I
a:11 {Arg'nr'                                                                                                        a
                                                                                                                                ING:                                                                  I
pr.{.}ri;--                  t,{t                                                                                    a          A                , PROMOTIONALFLYERS'                                     a
                                                                                                                        t                         UPDATES, ETC                                            I
FAX -*                                                                                                                  I
                                                                                                                                Pzu                                                                       I
                                                                                                                        a                                                                                     I
                                                                                                                        a
                                                                                                                           tn&                   YOU
                                                                                                                                                                                                              I
                                                                                                                        r rV a               rtllrttlillltlllf



                                                                                           INC'                                 1                l*ir oui,iirlE f r' 8004?j:$l$9
                    ctr*ror\ r;t,EC'rFll:  .qg'-
                                   Fc $gl;.tr i']
                                                                                                                                                       fAx 3lo-9{6.t1011
                  ;r;;i;J'jER A'#''cA e{670
                  ,*#n'iu iFmxcs'
Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 3
                                       of 34
                                r,/\J\ Jlu-y;l(r-{rul4
                                                   €n-t4




                                     APPLIC/iflON                                           CHEDIT
                                             ALL INFORMATION I{ELD                STRICT CONFIDENCE.


                                               TssAp
                 FULLNAT4E OFCOMPANY

                             l\q         Adr\ ison Ave      . West.
                 Cf[Y, S"TATE, NP                          3D 833
                 prroNE bo6l
                                *tlb.838a
                                                           FAX                        B3

                                                                      TYPE        BUSINESS (cnclE)
                                                                                         PARTNEIUIHIP PROPRIETONSHIP
                    REFERENCES
 PLEASE LIST VENDORS WIn{ WHICH YOU HAVE A                                        OT YDNRS lN BUSINDSS

 CURRENT OPENACCOUNT.
                                                                      (ifnrorc

                                                                      PUITCH       ORDER RI'QUIRED?      YES NO
                                                                                 TO CONTACT ITECAITDINO PAYMENT OF DILI,S
                                    M0       tt4

A@DIT'
                                                                  I   taa
                                                                  I
                                                                  t   IT IS          BECOMING THE INDUSTRY TI
ctTY.sr^lB UP
                                                                  I                   TO ONY GIVE OUT CRED. t
                                                                  a                                         t
PIIONE           208                                             I
                                                                      IT                   BY FAX OR MAIL.  I
                                                                 I                                                   I'
                                                                 I               MANY LARCE CORPORATIONS             I
Aqcout{T,                                                        t               GIVE CREDIT INFORMA TION            :
                                                                 I                                                   I
                                                                 I               THE CORPORATE HEADQUAR-             I
                 VOLCO INC                                       t               ONLY. WHEN LISTINGA LARGE           I
                                                                 I                                                   I
                                                                 I
                                                                                  BE SIJRE TO INCLUDE THE
                                                                                                                     I
ctTYl
                                                                 I                   OFTFIE MAIN OFFICEAND           I
                                                                 I
                 zo8 733-55/1                                                    ACCOL'NTNUMBER.                     I
                                                                 I                                                   I
                 208-7   3361                                    t
                                                                      THIS                  PROVIDES US              I
                                                                 I                                                   I
                                                                 I               THE BESTWAY OF CONIACT-             I
                                                                 a
                                                                 T
                                                                      ING           FORALLNORMALBUSI.                !
@MPA}{YNAMG                                                                                                          I
                                                                  I              COMMUMCATIONS, INCLUD-              I
                                                                  I
                                                                      ING                   SALES ORDERS, CAT-       I
crY.sr/\Tl! zp                                                    I                                                  I
                                                                 a                PROMOTIONAL FLYERS,               I
                                                                 t                 UPDATES, ETC.                    I
I'AX                                                             I                                                  I
AeouNil                                                          i
                                                                                  YOU                               ,
                                                                                                                    t
                                                                                                                    I




         EURTON ELtrCTRIC CO., INC.                                   3             77 oUTSTDE CA 8004234789
         9920 PAINTERAVE.. POBOX 2I 13                                                  FAX 310-94@014
         SANTA FE SPRINGS CA 90670

                                                                                                          EE001412
              Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 4
                                                   of 34
                 0iJ, 18, i)b  :.i
                              :- i,i
                                    t!'7i3:iii,,;;          i ii.scti
                                                    .;i?:PFja'1'1:    "1         _'       @l Lro l




                                             ffiffiffiHT                                             ffiffiffiUffiST
                                                                                               gELqtgoNFrDENcE.
                                             ALL, N r-t,K&l{: I5Io, B]YST}P$



                                             FULLNASTE OF EOMPANY                         Ps           dp<-
                                                            3 3.go                    5       \2ft
                                             CITY. STATE. ZP
                                                                                              g                bl
                                                     77e.- 3 !3                                 F                   813-/3



                                                                                 n
                                                                                 (i

                                                                                 T

                                                                                 I
                                                                                                    FIIJ OUT THB TT{FORMAIION
               tAx-                                                                                 AND RETURN VIA FAX ORMAiL
                                         ^
                                                                 .''-,+r+-.-._                    YOUFC'RYOIIR
F;:..,'l--   r ' .-'                                                                            CA!{.FURMSH
74,'                                                                                                      WEWUI
                                                                                               YOIJ.
                                                                                                               I     g


                                                                                                       ETGE CRET',IT

                                                                                                        on*n-4--
                                                                                                        PAST DIIE      i-F
                                                                                                                     g.drt     DAvs
                       Lf1e                     tu{
                                                                                                       TREND TO*ARDS rtnosr
                                                                                                  FROMPTHE3E       SLO!'NEES
                                                q5-

                        nubnnqr,{ ELEcTfi'trC CO." rNC-                                   J
                        eezo pAri{TER A'vE.. Po.BoK 2l 13                                                   F4S
                        sercin FE'sPRINcs. cA eo67o
                                                                                                                    ?V:9T. 965I-1,I-#15
                       \g'd
                                                                                                                         EE00141   I
Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 5
                                    of 34


                                                          r-ulffig#ru ;_LEfr?ft$fi C43.
                                                     9']2O ?atnler Al'*nue P. 0. Box 2l                                                               : :   .'   !.
                                                           SATITA FE SF'RIfIGS, CA 90670                                                              i '1.'- . .l ,
                                                                     (213i $4$"447?                                                             :
                                                                                                                                                 ,' ii      ; i,! i
                                                                                                                                                  :         i         1
                                                                                                                                                /,.         i         1   1



                                                                                                                                                :i ?<i'                   t..
                                                                                                                                                  :1             r ,,j"
                                                                                                                                                    i.f
                                                             APPL]CATiON FOR CREDIT

  Please fill out this fornr and send it to the above                                                ress. Attention: Credi t Deot.
  6jve onl.y names of lhose you buy fron on open acco                                           L




                      ' Name
                        Add res s
                                               CI
                                                {.
                                                                                                     fa,,ifs, 3, y

                                                                                                     Zin       )Lt       L'         t t"


                        Phone (U;'"1) ,?r'1,;"-,*f i l*,
                      .'' Name

                                 s         37-5.                                                    So*d-n*'"f
                                                                                                     Zip 7'7d)q-j
                                 0r '2\).1       '*q*-b ttjg
                                                      c



                                 s        tl                                                                                                                                    iit*l
                                                                                                                                                                                "n4ffi
                                                                                                     7ip bu lLl t-)
                                                                                                           .    I    .   ,    r'l     t




                        Phone ('3lA )          7(:b-l6Ai
                        Nane

                        Addres s

                                                                                                     7i
                        Phone (            )




  I understand the terms are NET.                                    Due and payable on             eceipt of statement" Past
  due after the 10th of the month                                     lnterest 6f lfii pe           month charged on accounts
  past due 30 days 0r more.
             '-i;*'
                         it
  S IGruTD                                                                            Y
                                     tl    name of              rm                                                   ro                    rm

  Add res s              (/                                                           Phone (




                                                                                                                                            EE001421
               Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 6
                                                   of 34

                                                                                           :!
                                                                           o1
                      t.
                                                                                      , i9.           ..,r
                                                                                ,{"     w4ftE
                                                                            EURTONIgLECTRIC CCI.,
                                                                         9920 Painter..Av€nus, i1 O                          2113
!
                                                                                                                             670
i                                                                                                                                            4s\            I 'q
                                        'ti
                                                                                                                          DiT                               q,lt
              The lollowin{t tfformat lQn mu                    conrplelocj in f ull- All Inlornralion will'ire               ld in $lricl confkiancc
                      "n                      l


              Fu{l narne *l c*iripariy                                                                                                                                   o
              Address
                                                                                                )I
                                                                                                     1*nt t
              Gily, Slaie, tip                    11 i 1?:
                                   (-
              Phone                                                                                            FAX
              Type of Busin***:                                                                                                     .--*,r
                                                           tiecrporatirrn                            IParlnership                   fd.Froprieters hip
              lilumb*r t)l y*w lrr bu:inas*

,,            Nuntber ol lscaii* ns {il rnnre than one, gencl ggmpletB inf oimation on
         gu"r],/.l-|
,
.'.'f.
          #r6$d8*ls Nano                                AiL(- t ctrv                                 Na              PI
,'.'6
     i.jiP er son to conta*r regartling paymenl of bilts
':Yil"
  ;.i!
 ,ri.i
                                                                                Ntrl,reg                                      t{ur*                  I u}at;E
                                                                                  ame                                                                    Title
          PurJchase arder rery;irecl? Y*s                                        No
                 horlzed

          Describe In delaii your bu.ti                                               CA

                     tL,-            &{rft{"            -J"lt
                                                        12            pfilrALt                                               / /.81y't
                                                                                                                                                                         5
                                                                                                                                                                     /11,:-{(
                                                                                                                                                                              ,/




          We plan to use Eu(on Etectrlc for                        lollowing service$:
          {
         KArmaiuro and Fielcl Coii Bewind tng
                                                                                                             ffiuotot
         p nower Tool Parls                                                                                  I tt,totor        rr

          fieferences:
                                l/,{ rtfi7(t)^litL.                                                                                                        '*"7 's)
                                                                                                                                                            'a   J.-4,   f-


        , Eank Hama
                                    k z7-o
                            s
                                                                                                 qe
                                                           ts'rs



                                                                                                                                   S.'z
                                                                                                                                   t-/ uvr{l t/


               rla
                            &             qLqc                                                                       'r A1

                                                         Addrais

         r(wE)                    aT r! rr'
                                  ^r
                                              rr^r lF
                                      I nc: A(ruvc
                                            ^                                                           cl l.f{D THAr WE       I] AI'ID WILL CCI',IPLY YiITi.I YOUR TERMS



                                                  tJo
Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 7
                                    of 34


 IA'd 'ru101
 .          ,-.*   'ij' '   j.   i r.-;




                                                   F',AX 563-946-0CI14

                                  AFPLffiIiTlON[x
                                            AII t&fpqt#fwN f'tQt-o lN                  CEnnogla'

                                              NArvE   wcowxry-frQ                         woefs
                                                           /3/ 6                            Sf
                                          crrY, STATE, m    tGP*L                                                         sr
                                                       ?y{- 7ts o                                               €t
                                                                       T!f?! oF                      a@aF
                                                                                                PAET}JETSHII       IroPn0FfoRSt[?

     qrrTr ETATq 2lr                                                   I\1'MITR        yrARJ rN      ,urrxrs&.]--
                                                                       TNUBER
                                                                       ([l raert         ctr. Ptcrse                 ob

                                                                                       ORDERNEQUItrE)? Y8S

                                                                       lllsoN          coNtAcr L€f'aflllilG PAtl{EtJT OF lllls
     coxPrS{Y}|AME
                                                                                                                          64anA-                           ,.-"t"!i-:'

                                                                       ceolS
                                                                        .ITIS             BECOMING TFIE INDUSTRY
                                                                        o
                                                                        I
                                                                                           TO ONY GIVE OUT CRED.
              I,l{T3                                                    .IT                     BY FAX OR MAIL.

     colp rrY NAill                                                     : ALSo,             LARGE CORPORATIONS
                                                                        I WILL         VE CREDIT INFORMATION
                                                                        "I FROM           CORPORATE HEADQUAR-
     crry. stATl, zIP                                                                      BE SURETO TNCLUDE
                                                                        " TERS
                                                                                             OF THE MAIN OFFICE
                                                                            : TFM
                                                                                AND       ACCOTJNTNUMBER.
                                                                            "
                                                                            r THIS                          PROVIDES US

        HPAITY }1&}G                                                        I wtrH             BEST WAY OF CONTACT-
                                                                            .ING         FORALLNORMAL BUSI.
                                                                                                                 INCLUD-
                                                                            I Ness
      CNY, STATE. zIP                                                       r ING:             SALES ORDERS, CAT-
      PHONE
                                                                            -A          PROMOTIONAL FLYERS'
                                                                            I
                                                                                         UPDATES, ETC
      fAx                                                                   I
      ACCOIn{r$.-                                                           q           YOU
                                                                            I   -Eaa   r-llaIa{tlgatrlrag


      EUR,TOIT ELECTRIC 60., ING.                                                             s62-946-4+77                                      ,

       gsz.                                                                                   800-423-47Ee                                          .1.:
       Po Box2[r.3
            'AINTf,R.AT{E
     ' salrrA EDsPB.nrcs cl$oczo
                                                                                          rAX s62-e46-Q014 l:i.,itri:+.$'
                                                                                                                            r,i                     +,.iln{
                                                                                                                      rrofff4!d' at
r6tl@'4            71SA'VAZ'S                                 EIJ:rl'l :.)IXl:lf-]f        r   Nnf              A7 t Aa   t al)?->   7
                                                                                                                                         -tl^
                                                                                                                                                    ?
       LZVt00==
                                                                                                         Bgrj\    ?.AL
       r1fiR*zts-X99?
                              Qr&t Jsslg                                  '.:-rr,.lir 1'r) Sllh;?.atds. 3il YJt"*uF
            ssstrg&F&ffis w $ffigffisfiBs                                                          L'   x x#tr ftd
                    trtr*w&*ss                                                           JiJb ts        hJ.gVd *t{c55
                                                                          'w"f %s'                      F-fffisffi
        &SOoCO€tlAr,6          E 6 aus*bs
                                          nOA >t    HJ,
                          'JJ3'SSlVCcln
                                                                                                                              6&t&
                 'slt3A'] J't vNotrottoud's V
          -JV3 .SUSCUO S3lVS .S33IONNI
             'c n-I)NI'SNOII.VJINn[t l{O} 3N
               -rsn glvKuoN T"lv uoc n0.,\ NI
            -JJVJNOJ :tO AVA\ "LSg€l gl-ll.                                                                                rtJEWs
              sn sS0rAoud NolJvl,txoiNJ               I                                                                      *trd
                'uaswnNJt{notf,v unO,l
                                                                                                                         #ggE&,uc#
           3)ICCO NIVW THI CO SS3}CCV
             3Cn13NI OJ gUnS 38 )\'IN0
           at\inbcvaH gfi/uoduof, gHJ.
            NOIrVhniocNI Jrg3uc g^ro
          sNolr.vuodu 03 ssIYl ANVhr                                                                                       s3ffiffif
             .,lIVhIUO
                         XVC AS NO                   JI
          -c3uf, rno eAIo,\.No oJ
          AUJSNCNI 3HI $NII^IO3g8 ISV{               JI
      e a e e ee 6-a a s e, s g w c| a s e           aE
                                     "
b{\
      g',rffi ,*e teffi&v4 sFMl@
                                 "E#JSffi Ae
                    st ffiA ,6@rsffi@
                                 ery@w.             alre.rStl
                {                 56gaqE&do                                                                      sed&&swErtp
                                                                          v s&vK{l&AffiWe                ffiffiffifbiffi6'wf|6
        es8aeess{ffi
               \8*\ f */{"            xvd                       €rpSL*     |
          _1-'.E/6                                                        #?LV&S "&3m
                                                          tH n
                                    L,'                              9'
                                                           tv/
                                                            rr)
                          2UL/ / I -                  aY__JLf{Vdru*3 {s ffisfiYe{ n&{
                                                   i3ret$ 3{3 trffi9 f{Sf"I,v}tr6$dhil :rW
                         B Edts&m     B&r
                        &$wE%p                                    MffiffiffiddW                               -w#   TOTAL F.A1
                                     of 34
 Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 8
       Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 9
                                           of 34


,r!\    '-




                                                      TOOL TIME
                                                 gBFPrr APJE!.r'cArroN

             FIR"III NAME

             TOOL IIME
             4125 w.
             BURBANK CA,          1 s05


             QENEs:                                                 RESALE                f#
                                                                     SRAC 99       2983
             MARK

                                                                     UNlTED               IVES
                                                                     P.O.BOX       5
             BANK OF                                                 LOS                  cA 90060
             MAGICOLIA P           BRANCE                            ( E00 ) 42    5927
                                                                                       c.t 4,1 ll fiil:
             3400 w.               IA BLVD.                           i 5i;a') '       C -)               C r.ti.l..'-r i; c.p I,
             BURBANK CA,          1 s05                              MAKTTA
                                                                                   60977 TERtrt ANEX                           l:.-
             Acc #04586-0 775                                        P.O.BOX
                                                                     LOS
                                                                     (E00)46 -5482
                                                                                          cA 90060                  t\$'
                                                                      -t-E
                                                                             t4 a;LZ'\. L3 Ai-rn . 4aa I ir -[
             SENCO                      INC.
             P,O.AOX. 960 31
             CINCINNATT           , 43296-0131
             ( 800 I 543-4s9

             REMCO
             1   538 SO.                     AVE.
             CITY OF                         cAr 90022
             (2131267-455
                 aood,      pr-              I
                                   11   l:




                                                                                                                   EE001428
Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 10
                                    of 34
                                                                                                                                   I- HTJL          UI




       I0'< :v101"
                                     48

                                     EffiPLffiffiTffiru                                   ffiffir
                                           &tL Ildr0R&1AT?oH }ffi,.$ {r{              f$lsmn{cs.


                                          ffiru sesffi$F c*n/trAr\rf                     @. '?;.
                                          AFtrR.g$5      a8a
                                          ffiT , gelaffi.a$ *{Ar e                                                                         -d

                                                        -774-          &                  FAs #at ^32{* 7,ffi8

                      ffieFgmmmm$                                          fi'?E
  msAffi t Is? 1ffiRs wxrH weffi YOu trrA\€ A                                                                           wsdfggt@]w?
  *ux$mflf ffi{ eeffiq,ffT.                                                          spYEAsstH$"m&{g88 -@

                             il.e*                    fi#                  (ifas"
                                                                                       sReg8,affiJm&? t&8 h&B
                                                                                    Tg s}fKAdX RB&AE m€ ?Ajndgsr g3'trr ? E




  esae;w
                                                                             gs      6 O A A g o A .p g A g s 6..9 o- s a o
                                                                                                                                             e
                                                                              l1'    FAST BECOMINC THE INDUSTRY
                                                                              ST      DARD'TO ONY CIVE OUTCRED.                              6
                                                                              IT                TION BY FAX OR IVIAIL.
                                                                                                                                             6
                                                                                      MANY LARGE CORPORATIONS                                a

                                                                                  CIVD CREDIT INFORMATION
                                                                                 M "rHE CORPORATE HE;\DQUAR-                                 6
                                                                                                                                             g
                                                                                  ONLY. WHTN LISTINC A LARCE
                                                                                  .. 8E SUREl'O INC.UDE THE AD.                              6
                                                                              DR     OF I'I"IE MAIN OTFICI ANT)                              o
  wt
                                                                                      ACCOI.JNT NUT4BER.
  trAS{                                                                                                                                      s
                                                                                                                                             6r
  .lcd:Ra{r   g                                                              1'H     INFORMATION PITOVIDES U5
                                                                                      TFIE BFST WAY OF CONTACI'-                                o
                                                                                    YOU FOI{ ALL NOltlvli\L []USINESS
  ,ffiIffi                                                                             tJNIU.{TI0NS, INCLI-IDINC: IN-                           o
  cirr.s?aT&rF                                                                      CES. SALES ORDERS, CAI'ALOCS.
  rA3]$                                                                                            FLYEIIS. PRICINC UP-
                                                                                                                                                &
  FEH                                                                         DA     S. EI'C^
                                                                                                                                                6
                                                                                      I( YOU                                            o
                                                                                                                                        o
                                                                                     s s r   € 9 gs       I    I   e C I    g € 6 A O 6 s

                      ffiffitrffiffif###"u f$'g
                      ssgs PersTgR, "q1€                                                     &$w4ffi
                       F# SSX 3B$3                                                  sAsESAmg      W Sffi4ffi@ss q#*sef
                      SANT'A.FC SPt?lFiGS C.{ 9**e:0                                     $&H "9xse-emffi-s6b€s                                           f
                  IR . T                                                                              .       ft. rF?      Qilil-?r2-r:q

                                                                                                                             EE001431
        Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 11
                                            of 34
               v*r}aaa
                                                   EURTON ELECTRIC CO.,
                                                 9920 Painter Avenue.'P. O. Box 113
                                                  Santa Fe SPrings, Califomia 90
                                                            (2131946'4477
                                                         FAX (213) 94$(xl14
                                                                                                                       q   dz,q\
                                                                                                              1-           oat
                                                   APPLICATION FOR CR

       The lollowing intormation must be completed in
                                                        full. All information will be      ln strtct conlklence.                 nu
       Full name ol comPanY

       Address
                                    L5/3 /
       City, Slate, ZiP

       Phone
                                 -4                                         FAX

                                        6,otporrtkrn                DPartnershtP                XPropdetorshiP
       Type ol Business:

       Number ol year in business
                                                   SO
                                                                             on
       Number ol locatlons (if more lhan one, send complete inlormatlon

       Presidents Name
                                                           P,q           C/JS
       Person to contacl regarding payment ol bills
                                                          Name

        Purlchase order required?                         No t/
        Authorlzed BuYer
                                                                                          ,.t
        Describeindetallyourbusiness,includingindustriesserved




        We plan to use Eurton Electric lor the lollowing servicss:

       Efl*ature and Fietd Coil Rewinding                                   n           Parts

                          Pads                                              tr          Repair
  N E(PowerTool
 \u     Relerences:                                                                                                a
  )
 \                                      ,0L
\ t\
GN
'.d


                                                           7'/7q7    /



                                                                    coRREcr, AND        WE CAN AND WLL COMPLY WITH YOUR TEBMS.
                          THATTHE
                                                             sND
              Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 12
                                                  of 34



                                                                                                                       13




                                                                                                            willbe       in strict confidence.
              The lollowing inlormation must
                                             be                     completed in full. Allinlormation
                                                                                                                        1q      >{
              Full name of comPanY

              Address
                                                           PASCO WA 9930 1
              city, state, zip
                                                                                                           FAx
              Phone
                                                                                                   flPartnershiP            ElProPrietorship
              Type ol Business:                                  flcorporat'xln

               Number ol Year ln buslness
                                                                                                 inlormation on             One
                                                            than one, send comprete
               Number ol locaiions (if more

               Presidents Name
                                                                                                                                             o ffice    Adminii'Strator
               Person to contact regarding
                                                            payment ot bills             Bett,Y L Milne

                                                                          x              No
               Purlchase order required?

               Authorlzed BuYer
                                                                       including industries served
(               Describe in detail your business'                                                                                     oofi               anies
                                                                                                       e lectri        I and
(                for contra ctors r uti 1 it                                   c         anies
                                                                                                                                                                  etc.
                                                                               dir onL              ins     1L         n&         e      r         an     S

    (                         t         a       s               a
                                                                    lor the lollowing services:
                We Plan to use Eurton Eleclric
                                                                                                            tr         Parts

    l\         flArmafure and Field Coil Rewinding
                ElPowerTool Parts
                                                                                                            D          Repair

    t                                                                                                                       (50 q)7 6-1 '76
                 Relsrences:                          at on
                                            SE -Fi st
                                                                                         B n
        $                                                                                                              Talephone


         \                                                                                99336
         \          Kennew icl<                                        WA
                                                                       stato               zip
                 city
         {
        .-{                       ock                r
                                                 trO': L
                                                                1                  1S ra                         S                                                       708 )
                                                                                     59r27                        S   aumbur                 IL               6   159
                                                                        PO BOX                                                                                           soe )
                 Sears MCA
                              cu            lD0c.'          ?b .7^'l                                                                                                     (206)
                                                                                                                                                                          95-B
                         ]-
                                                                                                                        C,Lp '/-tztP
                                                                                                                                                       c{;f
                                                                                                                               CAN AND                 WITH YOURTERMS.
                                                                                    IS
                                            THAT
                                                                                    +{., \
                        8- ^ spa83



                  f/aose ,'rrJ-J.' P/:trt* ce+'//ar                                                                         nunl*-o E;,p1Mc.at-d
Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 13
                                    of 34




                        It/fanor Hardwffire                                                        trmBany
   P.O. Box 2674
   19500 36th Ave. Wcct
   Lynnwood, Wash inglorr 9803G

                                                                                                                              775.3335
                                                                                                                              778-2841
         CNEDIT TNF(lRMA T ION


         0l,JNER    Robert W. Buncan                      t;31 .14 -.58fl8                         Fcd.ID # 9r,-0949147
                    2814 Ruckor Avenue
                    Everett, HA. ggzol                                                             nes a 1e Cert .
                                                                                                  600-018-291
         8AI{K:

         8e attlolirrt t{a Liurral          BrJnx
         160? Hewitt Ayenue                                            :!tu.-z bu - tStl
         Everett, l,lA. gg1Z4                                          Atlrl:l;. tl           6709 -90s

        CREDIT REFER€NCES:
        Cotter & Co -                                           P.l|l]--7 4B _t;./            3
        2740 No. Clybourn
        Chicago, IL 60614                              i,,.t -li      |U lrrt b               ,/0 il!;i r't
        Soise Cascade                                         (:r.iQ-.nat;..ya
        1.0. 9or 34936, 0ept. 1uOt
        sssttle, trlA. .gg'L24'                            ,':" a (ijta) 4t,/ trtil -1il:i. (r,tltf
        Senco Product,s. f nc.                                 8r,0- 543..di
        P.0. Box 96013i                                                                       (;
                                                                                              j,tSU .i rtit. ti(-/,-, (
        Cincinatti, 0H 4S2g6-01 3t                           I lJl{       4i-'))
                                                                                                      / t-'! /
        Howard Mf g
        P.0, Box 7 188
                                                                , ti0
                                                                      - ll t;;.: .. 0 ri
                                                                  I t u'C'.) .,, -
                                                                                             0.) '7/,j?i ' /'t 7o
        Kent, WA. 98035 -1 1BB                                  r'u:r J: :r'/ L

        ur.?.rt:' dnt ;n1 t r     llt.'t'      tr(' ,r. ".ii,"
                                                                1-.t(1t.
                                            3 ci{^.,r.${. - \/ ild-.:,
                                             I I \'tt -. Al .' r-l *..-ts Pt '*r*, S

                                              13 tt I q l.t    tr,.tl .r  rl - .t [-(rj

          fu ur..; rA l* V ,ti.df           1.116 ;:t.. ,,,           ),-.i...1tf,,
                                            t'\rt:..1_1
                                                      ,;.
                                                            i'e &rA                   .."1
                                                                                             I o-']
                                              '?..   o( -. ' );1; - f'-,r . .: t)




                                                                                                                        EE001439
       ra'd                                 3lltr}4(tltvH:toN                                tl     2-== I r     3|-t_L s6-92-,\uLr
          Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 14
                                              of 34
                         l:-'                                                                                                          "t
                        8A '',lq tE: :iE, l<n[r-ltfrizt:r:r f L-[l]:i Ff t:
                            t"',                                                                           t4
                                                                                                                                        I
                                                                                                                                        ;
                                                                                                           .2
                                                                                                           4r.


                                                                                                   : \"_
                                                                                                                                                         aamp"+ern4atl$,
                                                                                                                                                       - g
                                                                                                                                                              th"€$F" U Bk
                                                                &ffpLs#&Ttl#ru                                                                              s$rtg Bhs&d{ A
                                                                                                                                                                                                 C




                                                                                  ,ri I l\!'ORut ,\Tlr)! !Uj' i.i li'i                                 I t ai,t,'f 'lFl.;{'A
                                           '!


                                                                                  y{o1p
                                                                                  -/'
                                                                                                                                                                                                 !
                                           T
                             !,.i'i-... r:i.,i,rli r.:[,' 1;1,\,n,.fh','- L6#tl               b!i!]:i,"          **f                              .r\,. r"ltJg:.                           ,
                                                                                                                                                                                                 I
                                                                                                                                                                                                      i3.l-"

                             ,.i.!")!,
                                                             (rJ,5' k                  -t
                                                                                          V "r*1           St-
                                                               'rr , l.                                    Wtr
                             (.
                                  .;", .          , 'T, lT,-".. 1':i".iti*,,r €:i                                                            r': t.     !



                             Piinr;F              L'r.ir . ,.i.Jj".: ?Fg*-                      *F                        h rq-                   i,ti - ?{*J

                                                                                                                      I                                         :lir L t
                            rtfiFLt;ft,.01i{ 95                                                                                                        f.!!;      .,.dc.,ill

  FL$AST L.;Si-!t?'llltiir.f, u/{lll 1\''ii:ci"i 'i{:il..: l-lnv:i ,r                                                 !r'1   :Lili;3          Y! iii:, ii. ii. tlrir!i
  CLIRRSN'l' 0Pgl.1 At. (:$Lt'il
                                                                      \                                               *-:l,r\.lFF.R          icq,'-a li{J}.'q              I
  rSv"fANr li^u;                       Lr,J '{-r"At                   .e{                                            .(if mtre                  plr.a* iitr $;,i'q^"t 11, l+Ctl

. i-oofllt!                                               l\-
                                                          v,-!r-- -                                                   r::g.il.i                             hr,':i!Iifi-gi?                      {.:q-,}
                                                                                                                                                                                        "'i,:i
                                                                                                                      iriir,5L'*'            l{r:i'i 4i"; 3-f .lrr"}i!ri}li,: i'i.!r!ii"r I ilt' $i!l-$
                                                                                                                                                         J* lvtso-"*,
                                                                                                                      rxtsjlJ                                   ";.fu1*r_
  CPlrftAlrY !{^$!i                                                                 {)a                                                       .    *   F g f, t                tr         l4     at      \   4 a !
                                                                                                                                                                         '          "                            t
  rt$n.t5i
                                                                                  .'iY**'
                                                                                                                 e
                                                                                                                          IT IS              r sacoMnrc rr-is it iixjsinv
  i:rY. sfA'1"8, r,rP                                                                                                                                                                                            I
                                                                                                                 s        STA                  TO ONYGIVS OUTCRED.
  PNIJF:I                                                                                                        t.                                                                                              t
                                                                                                                 t IT                       RMAT]ON BY FAX OR MAIL
  FAX                   {r            7i s - "33-tt                                                              g
                                                                                                                                                                                                                 a


  A(:i'il;w i                                  .5h r- O         yi -'-f i t"                                     I ALSO                           LARGE CORPORATIONS
                                                                                                                 , WILL                         CRNDIT INFORMATION
                                                                                                                                                                      ,
                                                                                                                 t                                                    )
                                                                                                                 I        FR                    CORPORATE I.IEADQUAR. !
                                                                                                                 !        TERS                   WHEN LISTING A LARGE a
                                                                                                                 I
                                                                                                                 0        c                  E SURE TO INCLUDE TI.IE  t
                                                                                                                 I        AD                      OF,|I.IE IVIAIN OFFICE AND                                     T

                                                                                                                 a

  FA,X                                                                                                           I        YOU                CCOUNTNUfulBER
                                                                                                                                                                                                                 5        I
                                                                                                                 o
  n(f,f,livl t                                                                                                   g         THIS                    ITT4ATION PROV1DES US
                                                                                                                                                                                                                 I
                                                                                                                          .WITH,                   BESI'\\AY OF CONIACT-
  c'rl.l9l.:Y1r!Alli                                          -L*,n                                              6
                                                                                                                          INC                     FOR ALL NOI1MAI- BUSI-
  n:inRfi55                                                                                                                                                                                                          F

                                                                          tdr-                                            NESS                          CATIONS,INCLUD-
  .:tt. g{rl. n?                                                                 _{_1J-;-.f                      b
                                                                                                                                                                                                                     s'

                                                                                                                          ING:              VOICES. SALES ORDERS, CAT- !
  ruixr__fu- lb                                                                                                  s
                                                                                                                 t        AI.OC              PROIvIOTIONAI- FLYERS,                                              D

  FAX                                                                                                                                                                  ,
               r_*._-*. ._i                                                                                      t           P              C UPDATES, ETC
  ^L,4OUft
                                                                                                                             TIIA            YOU
                                                                                                                 d        ocq               L 9r       & r'5         t I i { I r F ? } ! I t
                             l




                   ilLIRTCI& F; {-,S{:"r'F.{{: {{}.. [\{-,                                                                1i0               .34?i' 0:.il$ ii:Ll f A 8r'l(i-n] j',1'!8'?
                   9{r?0 $riN-irF. A'18., p8 $0;'" :1 I I                                                                                                      FAX ll0'l)4{'.0t1'{
                   I{NTA ,rL SPRltiCS, CA 'r{}{'lL
                                                                                                                                                                                                      EE001442
 Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 15
                                     of 34



                                                      r:i d;.r'!            ;ii-...!'" ::f:',     . j, :    .1 ,
                                                      .;"..,j:                                  ' .r.j      "-   i

                                                  iJt*a* ra.ii',;i+;. iJ,v*r*J*' " {:' i");                            t'.iit;
                                                                                                                       4-i..!t1




                                                    ,*"i#pl!*Bq rjr",-iilg'l $-{}Fi {: ffi

Th* follov,rins intcir{xatiori fi"lust be campleie* in ir-:i{. iril inionnatio*
                                                                                                           r.';illh*       Ll irr s?r,ci **nfld€flc*

Full name o{ carrPanY
                               J&DTOOI.P.NPAIR
                               1l{.050 onANcE AVE. ul'lrr B
Address
                                PltPJrI-1OUNT, CA. 9O7?3
Ciiy, State, ZiP
                                (310) 63o*t644
Phone

Type of Business                       ilC*rporaiion                              EParirr*rship                                   flPrr:prietorshiP

f,lumber at year in busino$s          1 YEAN
Number of localions {i{ rn*r* than one , cend compiete inlormali*n on
Presidents Name                 JAVIEN F. 5A                       Al'il

Person lo contact regarding payment of bills                                        JAVINR F. 5A                                           P/lRTNI,IF

                                                                 Name                                                                                        Tille
                                                                        X
Purfchase order required       ? Yss                             Na

Authorized Buyer           JAVIEF ON ]]OI'IINGO
                                                                                                 1,lE                                                        TOOS    , AB l{AII,ltrRS,
De scribe i n det ai I yqu."f.bg$Ie-ssj including industries serYed
   COM?RESSSONS, BTG SA}IS, HOl4nlriE                            FiuiirfQulP, V


We plan io use Eurlon Electric for the lollowing serviees

EArmalure and Field Coil Rewinding                                                                   ffi rototor           arts

H Power Tsol Parts                                                                                   S vtotor
 References: SECUEITy pACfI'IC BhIl.                                                                                      (tto) 563-2919
Bank Name                                                                                                                                  c)
                     1550 'i|JElil-rY r,],vx                                                                                                             L
                                                                                                                                           (J
                                                                                                                                   umber
 $anK Aooress
                    SOUTH GATE, CA                    90?.80
 City                                   Slate                     zip


 I:'Ifi'{fT T0OL 3A26 'tt. OLYI'IPIC BD,/n.                                          I.A                                                                              90023*3402,
                                                                                                                                                Stai,B
 I'Jame
 B&'                    2011 u. solt'fH sr,                                          IONG                     CH
  ame


           i,riE        1"1r.401 ch             B],V!.                                OI"IAA                    U                                                            1



 I IWE}.CERTIFY TFIAT THT ABOVE IN                                            ionRicl, Ar{D ri-tAT                                                             WITH YOUR TERFitS.
  '^llli     .r)
             L{ t   1OOt
                    t//a
   iuu.
 w                                                                                                                                                                     n"l


                                                                                                                                                                EE001445
Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 16
                                    of 34




                               ---,;i,
                            ^q.i
                                \rV :- -
                                       'l           /l
                     .."cAi,,i'h ,,,?                                                   d'h,",{iii't ;'.
              c,iF tllt*           "
                                                                             ti                                                                    '
                                                                                                                                                                   ' ';                                            I
                                                                                                                                                                            '
                                                                                                                                        F::',-     r;:i.J=:.
                                                                                                                                                       '-'1'' i-
6#5#i";                            &ppH*$#ffi$#?fl\,J                                                                        ,*;rael-jr,i i'
                                                                                                                             /-.--1..




                                                d{d, frVf$#d#?T#i'" iJdlJj ffJ S}ffi                                     {pw{fff#Nffi

                                            Y-! tLL N.qi*E O'l' f OMP. .i.*^i"    t(
                                                                                       -'
                                                                                            r       -; .fl   t tl {*'                                                  !                                    -/-r, ,-
                                                               ';r,L!      l,lis'//J':'"r,
                                                                                                "
                                                                                                                              3t
                                            f.rrv" srnre, re                                                  (;        /vL,_                                  a
                                                                                                                                                 ' *}q ) * i{: j7.,"
                                                         2    t-1                                                              '?,41,

     O}{f,Allll Si.A-l,ff                                                                                                               l@€L!f
                                                                                                                                ppsrN&."s$il?                      rncrnrerevasxng'
   A-DDR'!s                                                                                                                                                                      I


   CITT, STAT?. :TF                                                                             ItJt{-Et,               YRAS5 rN 6ttJ

   FHONE                                                                                        fxoMxll{                r0CJlTIo                                                                   ,,,'j,
                                                                                                                                                                                                            '$'
                                                                                                i,f B1d rc                atro, plture llt? ndd!.ets 6g {aibJ                                               '":)
   fAX                                                                                                                                                                                            .'! u j,
                                                                                                Fli[{€H/xSE              R.t'gL F*\fLIin}3:                                tqo                     !              ll ;,,
   Accou}rrF                                                                                                                                                                                                'Yf '
                                                                                                PBP-{ON                 ffr}lTACl-        EqcagfisJd PlrY&&Jr orll&fS'
   cowAlry )iAldl                                                                                                                          /l                                                                     t'   .

                                                                                                                            il/1
   l.Dsqrss
                                               ,/                                                                                                        ,          il.' -
                                                                                                                                                       ,t_ -       .(ija        r
   CITY. STAE, ZI.P
   rll0}lx                                                                                                               B s 6 B q C a B ! q D !                      c c ft0b                r

   FAX -,...,,,--4fu;--,- -....,:":-.. -,.-.,. - - |                                            " ll"ls t:                                                INDU S1'RY                    ts ,..
                                                                                                                                                                                        -!
                                                                                                       IT
   co!,"{?A}ri NA}'{r                                                                                  Al.so.           AN Y LAIIC t: C0l{POltA]-lONS                                   g.

   ADDRLss                                                                                             \vll_1,. {i V11 illl LlDl'l' lNIr(JI{lvlr\l'lt)N
   CTTY, $rATt ZIP                                                                                     FlLol!4           tr C]OI{POI{ATE I ILIADQLJAR-
   Pl{O}rE                                                                                             I'ERs              Y" \YHIIN LIS I'INC i\ I-ARCI:
                                                                                                       COI{P..            sr.lRE l'() tNCl..tJDE 1r-ll; AD-                             o"                    ;.
   rAX                                                                                                                                                                                  El                    I
                                                                                                                                                                                                              j'j.
                                                                                                       DRESS              TI'Il; fulAIN OI;F'ICT ANI)
                                                                                                                                                                                        a',
   ACCOI.J.ST-rt                                                                                       YiJLJ Ii         CCilI]N1' NIJI\.IL3DR.                                          0,,
                                                                                                       'l'l ils                   'I'l0N Pti.o\/tD[s i-Is
   c0A{1'Ah1' HJ**g,                                                                                                                                                                    o
                                                                                                       wt.tll              BL.S'f \Y;\Y OI: CON]'AU]'-                                  I
   !SDP-FsJ
                                                                                                       INC Y             I]OIT AI.I, NOI{IVII\1. BIJSINESS
   Cfi'Y, fi^TL.      ZIf                                                                              C0i\,llvl   lCAT|0NSj, INCI"liDIi'lC: 1N-
   mt0i{r                                                                                              VOlCllr , SAI.IS ORD[RS, C]A'I-,,\L,OCS,
   rAX                                                                                                 l) I{()i\.1    AL FLYlliis, l)ltlCjl:r-C LIP-
                                                                                                       DA'l'iis f:TC                                                                    !'
   AdCOTJNT,S



    CtrKTMffi ELEflTRIC CS," :&]iC,                                                                                                         5S2-gq 6-MV7 ''i"l';
     997S FAINrES,i"l"T.                                                                                                      8OG-4 ?.3-47Sq,;,,,,,'l'.
 ^ ;'po Esx3t.13
   ..'s,ur*r:s FE 3FRrr'rc-q cA -906?0                                                                                   fA,X 5 62-946 OSH$i ':ii;",gi
                                                                                                                                                 .. -.': lt( fr!:
                                                                                                                                         .   '-rr
                                                                                                                                                                                                   .,,rr"lll
                                                                                                                                                                                                     .< !/q.
                                                                                                                                                                                  -l     ,            .{s!r
                                                                                                                                                                                ''f'At^'
                                                                                                                                                                                 'U!-b'(
                                                                                                                                                                                          .tr   ffi1
                                                                                                                                                                                              'va


                                                                                                                                                                                     Tl,lTir:- F . 0l




                                                                                                                                                                           EE001 453
    Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 17
                                        of 34

                                                                                                                                                         ',      -   r;!
                                                                guRT$ru ELrcTst*" t$. llilc.                                                                  ; '
                                                           9920 Painter Averrue P. tf . fSox 211
                                                                                                                                                     !
                                                                                                                                                                           -''
                                                                                                                                                                           ,     ir


                                                                    SANTA FT SPRINGS, CA 90670
                                                                                (273] s46-4477                                                            Jutt
                                                                                                                                                              ,'ril 1 4 iga3


                                                                APPLI CATIOfI FOR CREDIT

           Please fill out this form and send it to the above a dress. Attent'ion: Credjt DePt.
          G-ive only nastes of those you buy fron on open acco

                                                      rwnra
l'lAY q - 1gS5                   Name                           {^1i1 -



                                 Address          I                 1?+.h :ir.

                                                 il       ine, l,JT.                                                ip

                                  Phone (trr4)             f)       *{*iaa:
                                                                        4.)1




i',iliY           1i}             Name i:'iiluaqkee llle                             -.'l'col rinr'l:
                                  Address.. ]3Ii5               1,1. Lis.b?n itt"-

                                                                I              i\iT {?                         7 p


                                  Phone {*:.ir )                     1    -1600
                                                                                                                                           ffimmffi',lBwffi&
                                                                                                                                                fif*"l Si} Rec'ti
  i.1l,ii ,.i .jYffi*'Name
                                                                                                                                         fix-r"fr"r'Hl* T*ftl- $[ftvr#r
                                  Address
                                                                                                               a
                                                      Be'fh               col.jlt                              L


                                   Phone t z*-:) r9z'*s6zz



          '.j :            ': ti !'larr:e      Blacl< 'ir
                          t__.
          't'f, liviiA
          au          t      ,
                                   Add res   s 1'0il
                                                 Chica                                                              Zip
                                                                    ordera tirraugh             1S113 i,r.         l,ici.iictrols |et"r:oil, ;'it. i+821p
                                   Phone (            )                                                 f,ho       r ll-11*5J&-*:'d1c

                  I understand the terrns are UET. Due and payab'l e n receipt of statenent. Past
                  due after the 10th of the nronth- Interest of       per nonth charged on accounts        1
                  past due 30 davs or rTnre.
                  S   IGN[D.. i:llectric 1]ool 'i ilervi cr-" iio.                                                        tLa.{v                                             i?r es ,

                                    ffutt    nane of Fjrm)                                                                         ero                                                le

                  Address              :l-91t42 Conant                                                             hone ( 313 )          366-.r333

                                       :lel:vri.r.- iii.        !-t*Z3!t
                                                                                                                                                EE001455
     Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 18
                                         of 34
                                                              4.H                                   S rjr L-l

                                                      3b',a
                                                                                    !,ft !::l,tA #.1.1,',t)




                                                              titrir:i. J Ui,kl
                                                                                                                                                                   t
                                                                  r/i
       tl"
' 'l: ': r:-'
                                                 .,       ,   /             :




        , .,1,i.,.   .



                                                              "::.
                                         L"lr*le                                                                                           ):8{t4-,8t+tt,4
                                                                                  l!:e,.,1y1q
                                                                                                                               N{r,l       j;QgQ";gQ'lla




                                                                                                l'rr'telrir:)l:

                                                 '5e44                                         ',7J:.'5 t: o$1..
                                                                                                :::t+k ;rfi{l                          '9370A'i,-445
                         8-?fi00,      .:.
                                                                                                -, it:l - 'r .t 5          j
                         ,/rJ-rr'9gd                                                           :;llill'i^t?


                                                                                               ,\p1u ilsr.'rr
                                                                                                                       *
                                                                                            .?    l*-tiJl'"/r
                                                                                              .1 : Lili]., :;:a

 LBH Enlu-npri srs ,Irrc.
 710l1 1t"1t'cnn,nvrlrru,,;l
                                             r                                                i'-. r r      4
                                                                                              '#it , t.Jir '1,; I ('           ni: lli.crrrai I'l;.:ch j np
                                                                                                                    itt          j rre
 Vohi Nr.rye,. CnJ j.f'urirJo g1,+il6
iiBr782-CI??d                                                                                                                   .F,\, 1 9?.jg
'1;813.0:4eJ
                           "L\q,tt                    :                 t




                                                                                                                                                              * EE001458
Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 19
                                    of 34




                                      EURTON ELECT                         c
                        Electric Motor Rewinding, and                       pair Parts

                      CUSTOMER                      INFORMA              UPDATE


                     The Charles H. Day Co.
 Company:
                     114A5 SE 37th Ave
 Address:
                     Milwaukie, Oregon 97222
 City, St., ZIP

 Phone: 503-232-1659                         Fax:

 Remit Address (if not the same)

 Company:

 Address:

 City, St., ZIP:

 Phone:                                      Fax:

 Emails Address (addresses you wish us to have on file)

 Mail Contact        luke@chasdayco.com

                     betty@chasdayco.com
 Accounting:

 Repairs

 Sales:

 Other:


 The above information is current and is the best way of contacting      through normal business communica-
 tions including: invoices, sales orders, pricing,, sales promotions,       nces, phone, facsimile, e-mails, spe-
 cials and catalog and brochure mailers, etc.

 We have always enjoyed our business relationship with Eurton            c, and we are looking forward to con-
 tinue working together with Eurton Electric for many years to com

 WE HAVE BEEN WORKING TOGETHER WITH EURTON ELECTRIC                     MORE THAN (Optional Circle)

                  7-5 years   5-10              70-20                                      30-40+



                                                                                                EE001460
                   Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 20
                                                       of 34


                                                                                                                                                                                                                                               :


                                                                                                                                                                                                                                               (
    _,,       1ril#                         ;V'{'      1;fir l"-i":}h: i ;iL;": ;.1;';
                                                                                                                 {il;   j.il




    | ;i.' r!! i a,atJ;                - .*..{*-.,1, {.i..   .:i';i:lni r-..i1,,"-- 3F:A'7 ? 5 O
               /
       ;y, rrsf iiiSr
                                                                                                                                                                i,ti
    :"1   i: :.', ' ,l;., i i-.,' I



                                                                                                                                                                                                                                                       .{.:
                                                                                                                                                                                                                                                        t;t.




                                                                                                                                                                                     ':   ti;- ;:ii&L li i,''r'j
                                                                                                                                  { ,]
                                                                                                                         '..
                                                                                                                                                                                            {
    ii,!i;l*Cf                        .i:ilitro   n,.q7 1l{rirrr.v: rft.itit ".;r, lir, ira,:,:-':.1 i';ri;             i'
                                                                                                                                          i Ll$* i * 'J ' - .i r'.
                                                                                STRi-qr- I,JiJj,;
                                                                                                                                                                                                                                                         ,ir
                                                                                                                                         rlilV lt{il'l*lt
                                                                                                                                                                                                        1i!t

                                                                                     F&_li"K i;Ljji; lia                                                                         ., $:ai                                                       Lt
                                                                                                                                                                                                                                                   I
                                                                                                                                                                                                  tl ,?,v
                                                                                                                                                                                                     .f. ,.':!'.'t '       ',

                                                                                                                   l:.r;*.. t -il".". $-'ri li                                                    tr
                                                                                                                                                                                           *5***-.*--




                                        4^t                       B      il trvr!.                                                                                             .*-. Slai*
   r
',r..:..1
                Stll:f€r:; -?.Yg
                                                                                                                                                                                          :iilrl.# ii?53{lt
       i"lasur^\ .".SS$S!. _gBi+Sgqia -;$:;"... .- - - ''2:t*                                         4
                                                                                                                                                                                             'i
                 ,rr"idre * +                                                                                       {.,iy                                                                 l:areigli;-..".
                                                                                                          i.- $ i i'' *.' ; i-$g l'*                                               .{r..{. r? i1l,.r ; :r * r' ';i
          ili.ra:ti

                                                                  it   i; 3*{-}                                                                                                           5tait *:*-        .-. .--- - Jt
                                                                                                                                                                                                                                                               -'t ,:


                   AEk]{*        i}
                                                                                                                                                                                                  ,. 'r. , ..
                                                                                                                                                                                              ,i " "{i"    .. ^i:
          .lt*11:ll
                              l lTt        n:lKif ;:.:ij': :l :":.' 1'l*+1-
                                                                                                                                                        .i.:l
                   ,d:jr.i:...:.:       **"1"l1*;-';ri.                                                                      i!                                                                           .;:1s;ti-.;t$::, a!:a :":t ::' r-.                                        i

                                                          L{i"i ISi"riliilii'                                                                                                                                                                                                            {i


           l{*,r i L ii ri,: *rvni*J                    jHi{*Ak" i"tl-{gf i'                                            ,.irlrru      jlli:'-
                                                                                                                         t ^' [1: vt ---*,---
                                                                                                                                                        ni.:.i!
                                                                                                                                                      *,----.
                                                                                                                                                                                                                                                                                        :i1
                                                              t
                                                                                              .,
           ii:.f1.:;,:i.: .,.:1;ir;i1i111i'.t', i:r fi{uiii"?i*'.:, '* ..-. " {-..--.                                   ii* i;i by

                                                                  l;) ?tltt' ,Bi{i'::1:1i; lit;c:t:iri*l "iig---*---.- ' '--" !:                                                                                                               *""t -*f--*-;'
            ** yitu liii**                    "i.lt ilipli;lr{                                                                                                                                                                                 .- . r\.1            : ...
                                                                                                                                                                                                                                                                    l. r
                                                                                                                                                                                                                                                                            l.i,:


                                                                                  --.i1,:. :i.1,1 ,           :,i,ii'-i. fi'l:I"i|".i"."'..:' --'''i                                                                                           **.1--t--".--*"
            iiisilr tt{i)e,. le{ltr.d { *Sto-i i'rl.                                                                                                                                                                                                       l
                                                                                                                                                                                                         .     .r1*i{l



            til:r:l.iti it S




                                                       iril fild i. b S F iJ,                                                     '. !r. 1'. ijiia-j:. i':;                l:, l.ilil
             &:.r:.i r; ;,i].1 I : 1 ;11i.31i,.1 i i
              .'rr i*r {ir1' ..:l:,i iijl                fl rii;? i. .;i.
                                                                           ".
                                                                                                   ;1'.'lalr .
                                                                                                                                                                       L
                                                                                                                                                                                                                   --           EE001462',
                                                                                                                                                                              ir 4ii :'",;,li';,'i i1; i:
Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 21
                                    of 34

                                                        Hq.j$qT#ru ,':';i:C"l;iC CS.   g


                                                                                            f
                                                  9920 Painter Aven_qg P. O. Box
                                                     SANTA FE TTTIINGS , cA 906
                                                            {?-13} s46.4477



                                                        APPLlCATIOI'I FOR CRTDIT
                                                                                                     | ,.,-j. '1 ,,t ) :;

             Please fill out this form and send'it to the abo                                            Attention: Credit OePt.
             Gi ve only names of those you buy from on open ac


                             Name Skil Cor                  ati-on

                             Addres s             tment 02
                                           Chicago,           Irl                            7ip. ouo/)

                             Phone (415)                 *Lt+27



                             Name

      t ',) i,'              Address ]lra.
 n'
                                                                                           7it1 53??i4

                             Phone (41t          7 6L-2851



                                                                  tion..
                             Address P
                                                                                                 0 1773
                                          San Dimas, Cit
                             Phone (7r41         see*6895


                  ...         l'lanre V      I $ales
                              Addres s      2820 0akdale Ave "
                                            San Franci sco                                         94L7t+

                              Phone (A'15)        285-26a6


                  I understand the terms are il[T. Due and pay le on receiPt of statement- Past
                  due after the l0th of the month.  'lnterest   l't{/, per nron th cha rge d on a cco un ts
                  past due 30 daYs or more.
                          ir      /'\-
                  S I GNTD   ft4       -+-
                                          .'/(i LLr r
                                        name 0      Fi rm

                  Address I fB            iiailroad         j\ve "                          Phone ( 415)       $?-6291
                                Irittsbgrg, OA A4565                                                              EE001466
     Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 22
                                         of 34




                              f--'.'r*---R-,*. j\'\                          tlz;O
             \ t=-€ -\ \rS .'              L=-.--'.-\ \''-*-.,
                  \.\".rSc*                             (-c-. .ao-..J
           _51._. ->-aQ=5B=o
                                                                            aG ac-3€'

                                     3e 1ns>
                                                            t
                   --i) :.-*-+..=- ).--o-
                                                            +*
                   \-*\*                      **-r--"




      =-t>     Axre-                                                        5\s -==a bSBBCT
       \ en e --Yr                                                          qB> e--\635
       4>.--..Q*S--= / C"^-: 9 -r -rr>-
                              ->q.d 4
                                             rJrl.r
              s<                           \-)e\o.>.
                           \ceD                        -\
                                              \-r-ls:>-)
v L*".-*t                                             '2
                                                                   \
s)
      b-se-s=3       '-?,o. g--(             c\c:---t<:> \^
                   g/j$1(-                  L /; fio'r rlq'lc 6:
                                                                        t
 -l-.:-?-\q;}              \) \*
                           \   '='-'*-i'

                                                                                        EE001468
                Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 23
                                                    of 34
.         llJl._tr
                             g
                                  AppLmpffi$ru Fffiffi                                                 ffiHT
lr
                                          ALL INFORMANON IE.LD IN STRJCT
                                                                     4'7 x /
                                                                                 i    -..
                                                          , - '"-l                     ,.-"



                                                                                                                   t*
                                                                                 ij \.L"

                                      ruLL NAI\,{E OF COMPANY

                                                  \                                                           RA
                                      CITY, STATE, AP
                                                                      0r?\(
                                                                                                      beD
                                      ruONE                                                   F                             --_lKUS

                                                                                                        (clnIa8)


                                                                                                       **. \ t8 --
                                                                             CORPONA                                     PN,OPRETORATIP
                                 REIIERENCES
                                                                         }ruM8EROP
PLEASE IIST VENDORS WTn{ WHICITYOU FiA\Tb A
CURRENT OPEN ACCOUNT.                                                        NulvfigB'Ol
                                                                             flforotbm            plo*a lia        gD   lcah|--\
                                                                             PUT,CBASS                RBQUnSD?          *(.q'--)
                                                                                            TO                           ?A\f4fi.ITOf BIII^(
:rrr.$lrBzD
4toiltB

FArt

                                                                         lrleo,                                                           a
                                                                         T                                                                E
                                                                         I       !IT IS           BECOMING TTIE INDUSTRY                  o
^gDRE\'                                                                  t                          TO ONY GIVE OUT CRED-                 E
:t!r.5rtlzp          .   -                                               t           IT                  BY FAX OR MAIL.                  !
                                                                         t                                                                t
rf,oN8
                                                                                                                                          E
                                                                         a           ALSO,           LARGE CORPOMiNONS
    FA](                                                                 o
                                                                                                                                          o
                                                                         I           WILL GI       CREDIT INFORMATION                     a
    ACCOIINTT
                                                                         t           FROM          coRPoRATEITEADQUAR-                    a
                                                                                                                                          I
                                                                         I           TERS           WHEN LISTINGALARGE                    I
                                                                         I
    :OM9N{Y                                                              a
                                                                                     coRP.,       SURE TO INCLUDE THE                     t
                                                                                                  OF THE MAIN OFFICEAND                   o
                                                                         a
    ^I)DRBSJ                                                             I YOUR                                                           I
    dTr. sr^18 wt                                                                                       NUMBER.                           o
                                                                         !
    Pllol.Jl                                                             a
                                                                                                                                          3
                                                                                     THIS                PROVIDES US                          ,
    FA)(                                                                 a
                                                                             a
                                                                                     WITH         BESTWAYOF CONXACT.                          a
                                                                                                                                              a
    ACco(NTr                                                                 I       ING          FORALLNORMALBUSI.                           a
                                                                             a
                                                                                     NESS                    INCLUD.                          I
                                            *                                t
    COHPA}IYN^'{B                 -   '                                      t       INC:                 SALES ORDERS, CAT-                  t
                                                                                                                                              t
                                                                             I ALOGS,                            FLYERS,
    ^DOFlst                                                                                                                                   a
    cnT. srJlTg ?4                                                           g
                                                                               PRICING                      ETC.

                                                                                     TFIANK




                                                 , rion's Tool,s, INC.
                                                cRFnTIJNFORM^ TroN
                                                                                                                                   EEO01471
Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 24
                                    of 34



                                                                        t:ri.i;:, i"; .. ,r,,i-t:r.i" i;-l,i;; {r.;{i,." :
                                                                   ;;t:?t] Ff.il'.ri' ,'1v*i1ti* " i:. ii
                                                                      f-l a,t! l.:.   i: :r;rr .inS,q, {,;t1t1;:'iz:t;*.
                                                                                             t . .a * f\;lf:     ..: f:\' )
                                                                                             {   L.,rt s\€-" r'\
                                                                                                               i*,&&-*zi"t ti                                                                  .
                                                                                       r"::.,T. t121 3",t
                                                                                                                                                                                         t-a
                                                                                                                                                                                         t'
                                                                                                                                                                                               _, i";ir.1. ii
                                                                                                                                                                                         t         ;':!'
                                                                      gp g* rlitij tt"'{ 8'#74 Y *m *t{4                                                                                       : I               t/'
                                              :                                                                                                                                 ti
Th* ?*liairuing inforffiation fi-ilJ$t b* *o {tlpl*l*{1:n ilil:, i'.ii in{*rrnali+n
                                                                                                                         16i11   ** *id i* slri*i *ti{lliden}*                       I




 Full narn* CIf ccmtlany
 Address
                                                                           fi-                                 t {., I
 *ity, $tat*, ZiP
 Ph0ns
            lLr                         .:    11        :

 Typ* *l Business:                                 Ie*rporaii*a                                     f]F*rln*rship                               L:JFroPrietotsiliP

 I'Junrber 0f year in busine*s
                                                                                                 inlorrnatisn *fi
 Number oi locations iit msre ihan one, $*nd *'*nrpt*i{l
                                                                                        t
 Presidents Name                                        r'ct i'

 Fer$on io conlact regarding payment ol bills                                                                                                                           \ '\.i..'\'.-

                                                                                      lri*me

 Purfchase order required? Yes-                                                       N***X-
 Aulhorized BuYer
                 in deiailyout business, including itdustries
                                                                            . i'":q. !..r. '



 VSe plan lo use Eurlon Elsctric for the lollowing
                                                                                 $ervi*es:

.KAr*utrte and Fisld Coil Hewinding
                                                                                                                      n                 Parts

 fl Power T0ol Paris                                                                                                 tr                 Repair

  Ref erences                                                                                                                                t\ r:L          '.11.' "i i
                                                                                                                                        Telaphono
                                                                  l\_
                     r('                                          11)..]              ..t,. '' I i<
                ress                                                              t. ,t 'r l,-t
                                                   r\a i                                            'i
                                                                                       7ip
  City


                                                    t                                                                            \..'


                                                                                                                                                            !:
                            L\ f ii
                                                                            rl
                     {\.{"'i                                                                                                                                                                       't      ':.
                                                                                                                                                                                                        t:1



                                                                                        F AIJD CCR}:i[CT, ANID                           $rE CA'\ Ai.lD WILL COMPL'/ $JITH YOUR TIRMS'
  r (wE) CERTIFY THAT I HE                         INFORM,STION
         r' - ',i
         i.!   l-r         '.r.
                            l)-'---

                                      llrle

                                                                                                                                                                     EE001475
           Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 25
                                               of 34

                                                                                                                                               z-
               !h,
           )
    l\il


!              '!


                                                          EURTON ELECT IC
                                                                            9920 llaint*r Avennc
                                                                               P,t). Box 2113
                                                                    Snnta Fe Springs, CA
                                                          I'hnn*: {56?)946-44?7 Fnx: (5S                            Irt
                                                                        cui'l          c*t"l"i


                                                    APPLICATION FOR C                                               DIT
                                                           {All intirrrnatiorr held in stricl confi             ruce)



                     Full Cs            an         l{ame       :I                                           -   l
                                                                                                                /U\*,lt^^,,*{ 1a(
                                                                                                                          '
                                                                                                                                 t   t




                     shi to Address: "{
                     Ci            v,i Code:                                                                        u1{f{ -
                     Bill to if Diflerent:
                            litat      Code :
                      Phone:               4t                 17- ilVC t;
                      Fax:         { 4l                        t 'sq
                      e-mail adtlress:                          s                             t tttu

                     *CIJS'I'O|I.IIIITS IN CA LITOR}{IA. PI,IIASIi PROV I DE RESALE CH Itl'I                        Tli ll: APPLICi\8LE


                                                               COMPANY
                                   0 r Ilusiness
                                                         y" Corporatiort)        lll rtrrersltip       It
                                                      \
                                                   nl bu!-iircss / \
                               nnbcr of yea r,5
                                                   .d
                               unrbcr f) f Locrt lr0ns !
                                                                f nrort than () nc. pl ease supply tn

                                rchlsc {) rdcr Requ rctl? i\\.:-
                                                               t'ts)              N0

                                   ll t0 con tulct rrgu rdi ug p*yrnent of hi ls

                                        $v! ru flYL\                ,.61 u
                                                                )
                                     nt 1 {)rvner

                                   l6      €       t/1              '-J
                                                                          v.,




                                                                                                                                          EE001478
Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 26
                                    of 34




                    ro                                                                                                                    lYhnrton Crtrporalc Ceutcr

             - -lectrical -Mechanical, Ine.




                                                                            Credit Referen

          Bank
         Valley National Sank                        {P} {e73} 366-18L8                                 Ma               Paravati

         100 tast Blackwell 5t.                       {Fl (e73) 366-84es                                MPa                    @ValleVNationalBank.com
          Dover, NJ 07801


          Trade
                                                                                                                         ncesca McAllan
          Henry O" Saker lnsurance GrouP                                   {p) {e73}366-0500
                                                                                                                         n cesca M @ He n rYO Baker'com
          ? South \iVarren 5t.                                             {F} {e73} 356-0062                        F

          Dover, NJ 07801


                                                                            {P} {201}7e4-3838                            m Donch
          Tri-State Bearing & SuPPlY Co
                                                                            {r} {201) 7e4-3737                           mDonch @TriState Beari ng.com
          L4 Sebago 5t.
          Clifton, NJ 07013

                                                                             (p) {412} 8e3-38e2                               rk Lowery
           Superior Essex
                                                                                                                               rk.Lowery@SPSX.com
           PO Box 9041-3
           Chicago, lL 50696-0413




                                                                              "S'srrri:e Through litt
                                                                                                                              j inlodrlclrrrrl4rr.cotlt . rvr.:hsile ,' *rvrv.e k)ngo,c0tt r lrJ S'lrt iil'& ll'l'' 'illii
 l llan-'r Shrrpe llltd. r l'O llttx 5ll ' \$hlrt*n, N'1 0?ll85
                                                                  r (971) J3l'0'10ll n l;;tx {1171} 5 i7-t},10.1 r        I




                                                                                                                                                                       EE001479
    Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 27
                                        of 34




                                           REFERENCES
                                           which you have a         open account.
                  Please list vendors with


          coMPAI\TY N AME
           AD DRESS
           CITY, STATE' ZIP
           PHONE

           ACC OUNT #


           COMPAI'IY N AME
           ADDRESS
               s        zlP
           PHONE
           FAX
           ACCOUNT #


            COMPANY N AME
            ADDRESS
                            zlP
            PIIONE
            FAX
            ACCOUNT #

                                                                                            maY
                                                    requested' as incomPlete aPPlications
           Please complete all of the infonnation
                                                     account'
           result in a dllay in approving your open
                                                                         from the corPorate
            Many large corPorations will give credit be           to include the address of the
                                                      corp.,
            headluarteis only. When listing a large
            main office and your account number'

            Thank You,

             EURTON ELECTRIC CO., INC'


/
!




                                                                                    EE001480
        Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 28
                                            of 34


                                                           FAX 310-946.m14


                                APPLCATKDN FOR CREDM
                                         ALL INFORMATION HELD IN STRTCT


                                                                                                                                /1
                                       IULLNAfuTEOF COMPANY                                     I,C                 tc<_ Lc,
                                                       2t5           ( tc- or                                  d.
                                        SITY, STATE,   m          r'-t S                                             a370;L-

                                                                     ryPEOF                  (oRcrD
                          REHERENCES                                                     PARTNSRSHP PROPR]ETOR8IIIP
PI,EASE LIST VENDORS WNTI WHICH YOU I{AVE A
CURRENT OPEN ACCOT'NT.                                               NUMBER          yEARS IN   BT.JSD{ESS_
                                                                     NUITIBER
OOMPAIIY              t   rt-                 lri,,n                 (ifnorctbao       plcoss li*odftts oa

                                                                     PURCHAsE              REQUIRED? YES NO
ctfy.
                                                                     PERSON                     REGARDINO PATft,{ENT OF BILTJ

FA>(
Ac@t NT4


                                                                     ooo!tE                                                o
                                                                     NITIS                                                 I
cnY.srATSzIP                    (^-                                  !                                                     I
                                                                     t                   TO OI.ry GIVE OUT CRED-           e
                                                                     I    IT                   BY FAX OR MAIL.             I
FAX                                                                  E                                                     g
                                                                     D
                                                                                          LARGE CORPORATIONS               I
Accot NTr                                                            I
                                                                             ALSO,                                         a
                                                                     a WILL             CREDIT TNFORMATION                 !
                                                                     I FROM             CORPORATE HEADQUAR-                !
COiI9ANYN.AMB         S           5-,-/e s                 n         I
                                                                     o TERS              WHEN LISTING ALARGE
                                                                                                                           E
                                                                                                                           o
                                                                     t CORP.,          SURETO INCLUDETHE                   E
clTY.an$B,zP                                                         l!                                                    3
                                                                     E               S OFTHE MAIN OFFICEAND                o
                                                                     I       YOUR                NtJMBER.                  a
FAX                                                                  t                                                     t
                                                                     o THIS                                                g
                                                                                              PROVIDES US
                                                                     , WITH            BESTWAY OF CONTACT.
                                                                                                                           g
                                                                     o                                                     !
@MPAI{YNATiE                          CLC:-                          E       INC      FORALLNORMAL BUSI-                   !
                                                                     E                                                     t
AI}DRISS
                                                                             NES S                           INCLUD-       g
                                                                     !
CITY, ErAlE,aP                        e.-L-                                  ING            SALES ORDERS, CAT- !
                                                                     o
                                                                     I                                         r
                                                                             A       PROMOTIONAL FLYERS,       a
 FA,X                                                                !
                                                                                      UPDATES, ETC.
                                                                     u                                         3
                                                                     o                                                         og
                                                                         E   THA     YOU                                       E
                                                                         !t99l'


                 Emmfl ELEern e Go, tnfi'                                               gto+fls{6?I
                 9920 PAINFER AVE
                                                                                          8[ 800{ag{t8g
                 PO Box 2113
                 SANTA FE SPRINGS CA 9A670                                             HH 8ltrgfls-onfl
                                                                                                                  EE001483
Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 29
                                    of 34


                                                           F'A)( 3



                                   APPUCATION
                                         ALL IMORMATION HELD         STRICT CONFIDENCE.


                                                      i45 s4c
                                        FI'I.L NAME OF COMpAtIy

                                        ADDRESS

                                        CTIY, STATE. NP

                                                                               rx 4o 3 rle 7?#
                                                                        OFBT SINESS (ctnclr)
                          REFERENCES                                              PAR1NENSHIP
   PI.EAT|E ITST VEI.IDORI| WIIII WHIGI YOU HAVE A
   CT'RRENT OPEN ACCOI'NT.                                                 oFYTASS tNBIJSINESS_




   ADDRS8S
                                                                            ORDERREQUIRED?       NO
   cnY,sr iq m
             o                      o                                     TO                          OFBILIJ

                             -o
   trrxlrmt O rtnc/rAo-
                                               ;4.                              aalt
                                                                                       ot I       lattr
                                                                                                           I
                                                                      ITIS FASTBECOMINGTHE                 I
                                                                      STANDARD TO ONY GIVE OUT CRED.       I
                                                                                                           I
                                                                      IT INFORMATION BY FAX ORMAIL.
   FAX ?7 0_ 4-<91-4ugj                                                                                    a
                                                                                                           t
   ACCq'NT' L e -,ta 7o                                               ALSO, MAI'IY LARGE CORPOMiIIONS      !
                                                                      WILL GIVE CREDIT INFORMATION         !
                                                                      FROM THE CORPORATE IIEADQUAR-        I
                         (                                            TERS ONLY. WHEN LISTINGA LARGE       I
                                                                      CORP., BE SLIRE TO INCLUDETHE        a
   crr.sr TezP                                                        ADDRESS OF TTIE MAIN OFFICE AND
                                                                                                           a
               o-t                                                     YOUR ACCOUNT NUMBER.
                                                                                                           !
                                                                                                           I
   FAX                                                                                                     I
   ACTOTNT   r /'o444Lq -o                                             THIS INFORMATION PROVIDES US        a
                                                                       WITH THE BEST WAY OF CONIACT-        I

                     rfl ArY rt   Edr+, 'c.-   .. ,                    ING YOU FOR ALL NORMAL BUSI-
                                                                                                            a
                                                                                                               a
                                                                       NESS COMMUNICATIONS, INCLUD-            t
                                                                                                               a
   OTY.                                                a               ING: INVOICES, SALES ORDERS, CAT-       I
   PIIONE                                                              ALOGS, PROMOTIONAL FLYERS,              a
                                                                       PRICING UPDATES, ETC.                   I
                 o                                                                                             I
   ACCOIJNT'   f4. i         a                                         THANKYOU                                I
                                                                                                               I



                     EAnmil ELEgnrc co., lnc.                                  0t0-gfs-fin
                     9920 PAINTER AVE
                     PO BOX 21 13                                         ounmr mffi{tfffttg
                     SANTA FE SPRINGS CA 90670                               Fil 3ln-gln-nnil
                   Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 30
                                                       of 34


                                                                                    ll3

                                                                                                      w7rl.-+1
                                                          APPI.ICATION FOR CREDIT                     f,- 5'vu
                        Please fill out this'form and send it to the abo             address.         Attention: Credit-Dept.
                        Give only nanes of those you buy from on open ac            unt.

                                    Name    Industrial Pheumatic
                                    Address        15 Broo              k Road
i..        .-.i,    -

      rl                                                           OH                   zi 44IA9
                                    Phone (21           398-7550    .




                                    Name DeIta
                                    Address 246 Alpha Drive
                                                P.i.ttsburq, PA                     1        I52 38
                                    Phone btz) 963-2400


                                   . Name RockweLl Int'1     Air Too1 Div-
                                    Address     US Highwall #1 North

                                                Columbia SC                         ip Zg206-_-_
                                    Phone (e           7A8-I21-2


                                    Name Porter-Cab1e Cor

                                    Address

                                                Jackson TN                              zi     38301

                                   .Pho ne (gor)        668'-8600


                          I understand the terms are NET, Due and payable           n receipt of statement. Past
                          due after the 10th rif the month. 'Interest of                per month charged on accounts
                         past due               or more,
                         S IGNED
                                     Ful   I name o       rm                                          o     rm                  t (
                         Address
                                                   -                                 hone (4fi )          473-
                                                                                                                 EE001488
        Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 31
                                            of 34
ffi   rnlD srAE txq-6nl{ mY             Fd rc. :46 @l4y                J&. 3l e@6 6:ffi     Pl




      ffi                      MII}.STATES INDUSTRIAL SI'PPLY INC
                                                     5ll S. E" &trd
                                    . OISIIHOMACIIY,OKT3I4g
                                       W.Sfll
                                     nargJ-3l -12
                                                 rAXdILr&a

                                                                            TAX
                 t x[ 5d3:2{lz:_4/L
                 rc  /*rt*t8/../+; f".
                 ^rrlr /
                         -1-'A4"4*.'
                 rxOu B.*           J-*t"t-,J
                                T


                                                         NUMBEROTPAGBS .?




                         Electrlc Motor RewindinS, and Repair Parts


                       cu5'ouEn @w qntFoBMAnOn UPDA'rE FOFM


                  /- Sr*/u 5d Er4v
      a^e"rr1, lt/,                             ;
      aaaesz 4tt 6E V3zd
      cty,si,zP /      ?4:(/'      f3t4.?
      morc, 632-Sllt        tu{@n1ClfrA
      R.lnlt Addrss 0l notdt. tamol


      Addresi:
                            (a^/
      Gty, SL, aP

      Phone:                               Fax:

      Etnsfb AddF$ (addressos you wbh us to have on fllel

      uattconvar msiy'oak @4fr.                       'l,H        .



      Ac&unttnSr €-




                                -
      Tho !b6n lrto.nsim b Brtent ard lt thc   H wry ol 6t!G[ng q lhouth mml budtr6t mmunic''
      doB lndudlm: lMle+ thr otdlrt, pllch& . rl€r prenotlmr, teftfend, ,hom, fadmlle' e'maib, tpG
      d8b snd €trlo8 8trd btodrrn d8atr, €te

      we hN sle'l Gnjofad out bushs Ehto6hlP dth tuttm tlcdrlc' ud un 3re loolin! lorultd to   m
      ilnucFLltrt totsthcr elrh Eunon lledrlc lot mtny Ytu lo (mc.

      W! l{AW EEft{ wOR}oxGrocmlanwml          EURrO}tFuCnlCFOR MO8E r}lAi (Opd6!l Odr}

                    l-Stean sl70               tl-m            20-:n @




      * w-9                               Roqudt lor tar96Yot
                                ldeildfic8d;il Numlri and Gordf,osttott              debB



                                                                                                     EE001490
          Offi#d               Ec@F            E"+       OH           Ore
     Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 32
                                         of 34

                                                                     i--_l
                                                             EUBTCN ELECTFIIC          tNc.                                             .g
                                                           9920 Painter Avenus " P. O.
                                                            Santa Fe Springs,
                                                                                         21'13
                                                                                       90670
                                                                                                                                8
                                                                      (213)94&.447:/
                                                                   FAX (213) 94&0014                                              ,)    3
                                                            APPLICATIOIS FOR                           IT                                            qD
                                                                                                                                             D
         The following in{ormation must be completed in full. Allinformation vuill                   held in strict confidence.              -o
         Fullname ol company             Mid-StaEes Industrial                                I               rt                                     ,/

         Address                         8320 S. Shields

         City, Stale, Zip
                                         Oklahoma City, Oklahona 73L49

         Phone
                                  (405) 632-ss7r                                       FAX

         Type oi Business:                   fiCorporaticn flPartnership                                      nProprietorship
         Number of ysar in business              2t
         Number of localions (if fiore lhan one, send complete information on                                36 W. Memorial OKC (Branch)
         Presidents Name                Bill S
         Person to contact regarding payment of           bills Berr         S                                                    Sec- & Tres.
                                                                    Name                                                        TiIIE

         Purfchase order required? Yes--              L             No

         Authorized Buyer           Steve
                                                          -, Bill S
         Describe in detail your business, including induslries served
                                                                                                                tools such as salts,
                     drills, routers, etc.                  All- electric tools                      hand tools. l,le also repair tools.


         We plan to use Eurton Eleclric lorthe lollowing seryices:

         EArmature and Field CoilFewinding                                           E               Parts

         Fl Power Tool Parts                                                         E               Repair

         Relerences:
                      Central Bank                                                                           405   232-555r
         Bank Name
                              h&
                            I,l                                 P   o
                      0klahona Cit           OK                     73149


          Powermatic Houdaille                                                   McMinnevill                  TN                        37110
                                                                                       Citv
                                                                                         'ltlew
             bert Bosch Power Tool CorP                     P. O. Box 2217                                    NC

$I   6          fu.r;...
             1 ta ln     na    Mac                         Cor           4290 Raines Rd,                              TN                     38118
                     ls Inc.             1100              Rd                Rolling                        IL

         r(wE) CERTTFY            THE                           TBUE AiID CORRECI             THAT       CAN AND WLL OOMPLYWITH YOUR TERMS.




              b' < - eu^,/"t*Z
                                                                                                                                    EE001491
Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 33
                                    of 34


                    * 1,s\-@ 2-z
                    BugeDigsr@ rtra
                                                                                        12131 802-0122   . 17141 385-t644
                   {$/t rtlP\(a{7dil
                   EII\BNCIIIL REEREDffiS IOR WESTSIDE                         !,MIRTAL @RPORATTON

           State of Inorporatjot:               Cafifornia
           Date of IncorSn:ation:               February L5, 1r94B


           Officers:        Beufah Kinkead, kesident
                            Rictraril Peclkham, Vice p:resident
                            Anne l4eigs, Seaetarlr




           Snplier References:

              rbliforni: npanU l4eta.ls Co.                                  818-369-3564
              263 Couina Lane
     fre ciQr of Trrfrrsttar, G,. 9L744
              Ia Habra pnodrcts Ccnpany                                      7L4-778-2266
              P. O. BcD( 3700
    kw{       Anatreim, Ca. 92803

              l,lerl-ex lrarnrfactur.ing Ccrmanv,u.ctl ^                     7L4-637-7700
                                                   ^
              291.1 oraryerclirrc      n5aCf i--WPlc
                                             'l
   tux        O:ange, @.. 92665
              Dcrntar Glpqrm Cc[rE)any                                       310-435-7711
   $\st\
              1401 Water Street                   ri rP'ot?-->
              I-ong Beach | @. 90802



      Bank Reference:

             EL Dondo Bank                              Accqrnt                349-046318
             Orange Office                              Phorre l,Ir.unber:    7I4-77L-3300
             2730 E. Gragrnan                          Contast:                Zip5xm,ld, tnp
             Orange, Ca. 92669                                               Pearson, Asst. \lp




                    111   I East Howell Avenue r p.O. Box 552 o Anaheim,     iforniae28os.0552 EE001493
    Case No. 1:16-cv-02981-MSK-MDB Document 109-7 filed 11/01/21 USDC Colorado pg 34
                                        of 34

              10910033                                                                                                                                             i
                                                                                                                                                                   I
                                                   Frl           i,F":.  ' i;i.*'.!"'il.!r'Ah                               ii.rrr        ;.=\iFq,$
                                                   .:;-:      :; .11 ...::l
                                                             L:: ;l:1-:.-.,
                                                                            .'-. : qq          ,:l
                                                                                     Hf :1ll\ t;
                                                                                .":a ;W'gt6: .II                            ,t*
                                                                                                                            ".,:
                                                                                                                                          tiq#":"'1i=,:{     fffTril?-
                                                                                                                                                 ii I ri*:Ysr='g ;+t

                                                           ,i.LL i I'j t::; iii\4/i1'lOi'.1 l.l.EL[) lr\-
                                                                                                                :


                                                                                    z1'/             , .''.-t
                                                                                      r''/                "'-
                           FIJLLNAtvfebr colr.ir
                                                                       T}Ot " $UFPLY .
                                                                            $an Jacinte,-.CA
                           crry sTdrE, ztP
                                         G
                                                                                 Ftct
                                                                                             rf€f:                                        c{'f
                                                                                                          cott:,otr                                   I'i   lt'                       i'
                                                                                                          i-U                        :!
                                                            fl'\ YL r\.
                                                                                                          I.itr,\i
                                                                                                          (ifrltorr:    +ss'                                \)rl

                                                                                                          i,u           0
       cffv                                                                                               P':llSoN                         RECNNDIN6                              OFOILIJ

                         /Y-

                               E/J(O                                                              t
                                                                                                                                          Er        o n F9             qE-r9a
                                                                                                  g        ITISF                                     THE                      Y
                                                                                                           ST                               CIVE    CRED.
                                                                                                  E
                                                                                                           IT                             BY FAX OR
/                                                                                            .6
                                                                                                          ALSO,
                                                                                                 I        WILL
                                                                                              B
                                                                                                          FROM                                  TEH
                                                                                              (t
                                                                                                          TERS           Y       LISTING                               LARGE
                                  atEE                                                        u
                                                                                                          CORP
                                                                                              u                          S   TO INCLUDE                                     AD-
                                                                                              a
                                                                                                          DRESS          THE      OFFICE
      ctf'4614?A
                   'JP                                                                        t YOUR                          NUMBER.
                                                                                              o
                                                                                              s           THIS                                 P                       US
                                                                                                          WITH                       WAY OF
                                                                                             t
                                                                                                          TNG           FOR          LNORMAL
                                                                                             L                                                 INCLUD                       IN.
                                                                                             A
                                                                                                          VOIC         SALES
      enY,$tA?r, i/tP                                                                        0                                            YERS,                             UP-
                                                                                             q                         ETC.
                        -5ro -   q-
      AtrCtglitT
                                                                                             o                         YOU
                                                                                             o.

                                                                                                                                           E!!tqF                       t         o



               EUT{,TON ET.,trCrRIC                 , INC.                                            J                                       CA
                        A\|E. i"OrOx 1 r,l
               SS20 FAINTEn
                                                                                                                                           3r0
               SANTA TE SPRINCS CA 9067C




              IA 'd
                                                                                                                                                    Td,r-ri            'E6T-Sa-I:rD
